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IN THE UNITED STATES DISTRICT COURT
F()R THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

GILBERT DUNN, JR., ar AL.,
Plaimiffs, § cIVIL Ac'rroN
FILE No. 1;10-cv-3469-TCB

VS.

BRANDSMART U.S.A.,'INC., ET AL.,
Defendants.

JOINT MOTION FOR APPROVAL OF SETTLEMEN'I` AGREEMENT
' AND STIPUL_ATION OF DISMISSAL

The parties to this action, by and through their undersigned counsel, hereby move this
Court for the approval of the Settlement Agreement and General Release, and in support thereof
state:

1. This is an action seeking the recovery of overtime compensation under the Fair
Labor Standards Act, 29 U.S.C. § 201, et seq. As such, no Waiver, release, or settlement entered
into by and between the parties is final, binding, and enforceable in the absence of court
approval. Lynn’s Food Stores, Inc. v. Unil‘ed States, 679 F. 2d 1350 (l lth Cir. 1982). See also
Taylor v. Progress Energy, Inc., 493 F.3d 454 (4th Cir. 2007) (collecting FLSA Waiver authority,
including Barrentine v. Arkansas-Best Freight Systems, 450 U.S. 728, 740 (l 98l)).

2. Plaintiffs Gilbert R. Dunn, Jr. and Curtis Kaufman and Defendants Brandsmart
U.S.A., lnc._,'Brandsmart U.S.A. of Clayton County, LLC, Brandsmart U.S.A. of Doraville, LLC,
Brandsmart U.S.A. of Georgia, LLC, and Brandsrnart U.S.A. Henry County, LLC, by and
through their counsel, hereby Stipulate they have reached a settlement in this matter that is a fair

and equitable settlement of a disputed claim for allegedly unpaid overtime Wages, as Well as all _

 

 

.....\.\...\.Case 1 : 1O-cv-O.SA.€.Q.-.ICBWDO.cnm.ent..3.8_.....El|.e.d..O.512.3111_.__Eageiznoj_l&._..____.._ _ .. _ . . ,\ _

claims for costs and attorneys fees. A copy of the Settlement Agreement and General Release,
With the settlement amount redacted, is attached heretoas Exhibit “A.”

3. The parties jointly represented to this Court in their Joint Preliminary Report &
Discovery PIan, filed With the Court on Decernber 22, 2010, that plaintiffs were not pursuing this
matter as a collective action.

4. No other plaintiff or prospective plaintiii` has sought to intervene in this aetion, or

indicated a desire to do so, and no notices have been requested or approved to persons who may
be similarly situated to the plaintiff Therefore, no other person Will be prejudiced by approval
of this settlement and dismissal of this action

5. Based on the foregoing, the parties request that this Court approve the Settlement
Agreement and General Release as required by applicable precedent and dismiss the case, With
prejudice, with each party to bear its own fees and costs. The parties further request that the
Court retain jurisdiction over this action and the settlement thereof.

6. A copy of a proposed Order is attached

Dated: May 2, 2011

 

 

Respectfully submitted,

Stepheh M. Katz, Esq. Robert L. Duston (admitted pro hac vice)
THE KATZ LAW GROUP, LLC rduston@Saul.com
4799 Olde Towne Parkway SAUL EWING LLP
Marietta, GA 30068 2600 Virginia Avenue, N.W.
Telephone: (‘770) 988-8181 Suite 1000
racsimile: (770)' 933-8132 Washingron, D.C. 20037

' Telephone: (202) 333-8800

counseler Plainnj}_" ' . ' Fa¢simne: (202) 337-6065

 

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claims for costs and attorneys fees. A copy of the Settlement Agreement and Generai Release,
With the settlement amount redacted, is attached hereto as Exhibit “A.”

3. The parties jointly represented to this Court in their Joint Preliminary Report &
Discovery Plan, filed With the Court on December 22, 2010, that plaintiffs were not pursuing this
matter as a collective action.

4. No other plaintiff or prospective plaintiff has sought to intervene in this action, or
indicated a desire to do so, and no notices have been requested or approved to persons who may
be similarly situated to the plaintiff Therefore, no other person Will be prejudiced by approval
of this settlement and dismissal of this action.

5. Based on the foregoing, the parties request that this Court approve the Settlernent
Agreement and General Release as required by applicable precedent and dismiss the case, With
prejudice, With each party to bear its own fees and costs. The parties further request that the
Court retain jurisdiction over this action and the settlement thereof

. 6. A copy of a proposed Order is attached.

Dated: May 2, 2011

Respectfully submitted,

Stephen M. Katz, Esq. Robert L. Duston (admittedpro hac vice)

 

 

THE KATZ LAW GROUP, LLC rduston@saul.corn
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` 7 Telephone: (202) 333-8800
Counselfor Flaz`ntij” Facsimile: (202) 337-6065

 

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/s/ Jarnes A. Balli
James A. Baili, Esq.
jballi@samslarkinhuff.com
SAMS, LARKIN & I-IUFF, LLP
376 Powder Springs Road, Suite 100
Marietta, Georgia 30064-3448
rl`elephone: (770) 422-7016
Facsimile: (770) 426-6583

Attorneysfor Dej%ndants

 

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EX_hibit A

 

-_~____-_~_Qase.»1;¢10.-.¢¥-03469..-.§_1?£;13_._1_Doc_ument_.38.‘..‘_E`l|ed..0.5123l.11..- Eage“!§.vo.t_.l& ,,

S`ETTLEMENT AGREEMENT AND GENERAL RELEASE _
This Settlelnent Agreement and Gene`ral Release (“Agreenient”) ls voluntarily and n
- knowingly entered into benneen Gilber`t Dnnn, .T__r'. (“Dunn”) Curtis Id-auflnan (‘tidaui.`lnan’ ’), 7 _ d n
laramst U. s. A. or design LLc (“srandsl\tai”) ' ` ` l
7 ` RncrrATIoNs 7 7
. A. l O'n or about Oc'toher 26, 2010, l)linn and Idallfl°.nan filed a civil action against "‘ n
7 BrandsMart and several other entities affiliated With BrandsMart alleging violations of the Fajr .' -
_ Labor Standards Act (“FLSA”), as amended, 29 U. S_. C. § 201 et seq., and purporting t__o 77 7
- represent a putative collective class of employees ' “ - " ' _ n 7
B. BrandsMart and the other Defendants filed an Answer to the Arnended Colnplamt ' 1 n
on Novernb‘er 22, 2010, denying that it or any of the Defendants had violated the FLSA and l t
n asserting various defenses to the claims of Dl'inn and Kau`fman. BrandsMart’s position is that » ‘
l Dlinn and Kaunnan were properly classified as exempt from the F LSA’s requirements for
l ' 7 7 overtime BrandsMa_rt U.S.A. Georgia LLC admitted that it was the employer of the Plaint;ffs, `
and asserted that none of the other Defendants Were proper parties n l n
C. BrandsMart, Dunn, and Kaufrnan jointly expressed to the Cour_'t 1n their Joint ` *'
l Preliminary Repor't & Discovery Plan, filed with the 7Coul"t on December 22, 2010, that v l -
“[a]lthough the Complain{tj purports to seek relief on behalf of the named Plaintiifs and all
0 7 " .- other[s] similarly situated, Plaintift`s [we]re___ not pursuing this case as a collective action under the._
n l D. 7 No other prospective plaintiif has sought to join this putative collective action 17 -'=

l _'l '-__ under the FLSA, nor expressed a desire to join this action. _ The Court has not been requested toj_

` 'N-ios:'sss.:snlii '

 

 

 

 

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and has not approved notices to any other current or former employees of Brandsl\/Iart who are ny
alleged to be similarly granted - 7 '

'E. Follolving the completion of the Plaintift`s"_depositions on April 14, 201l, and
prior to taking depositions of Defendant’s witnesses, the parties reach an'agr'eenient in principle ' . '-
to settle all claims, the terms of which are embodied in this'ag'reem`ent. The parties wish to t -
dismiss all claims made in this action in exchange forda'rnl`itual release_and to avoid the cost and 1 g
expense of further litigation n n l n l y n
1 n y .AGREEMENT_ _
z In consideration of the mutual promises and agreements contained herein,` and other good '
z and valuable consideration, the receipt and sufficiency of Which are hereby acknowledged the . - `
parties agree as _follows: l v

1. Dunn and Kaufinan agree that the Couit' should enter an Order dismissing the

n :F]`_.SA Lawsuit with prejudice The parties will submit this Agreement to the Colift for approval. -` 1 -.-

7 2. The parties have voluntarily and knowingly entered into this Agreement after
negotiation between the parties This Settlcmen't Agreement and Release does not constitute.an, z n
__ §admission by BrandsMart of any Wrong"ful action or violation of any federal of state statute, or x k
__ common law rights, including those relating to the provisions of any law or statute concerning n 7
z '. ':employfnent actions, or of any other possible or claimed violation of law or rights, and is being
l entered into by BrandsMart solely- -to avoid fin"ther costs and expense of litigation

3. Dunn and Idaufman specifically acknowledge that they are ndthdrawing their claims '_i

 

:_ that they were entitled to additional compensation for tasks other than those directly related to sales, ' n 7

1 - ‘r_ 7 7 rand are not challenging the application of the FLS_A Section 7(i) exemption to their Work. This

 

. v _ `_ settlement is of disputed claims by Plaint_iffs that BrandsMart failed to properly compensate them - jj n n 7

":.1_09;155935/9»'11'_ " ' " " ' .' l __2_

 

 

ease...1“:..3_..9-€`,_@3.469_:[_@|3lipogumem 33 .Ej|ed 0-5/23/11....._P.'a.ge..8\.1.01_§|_8..........._......_...._._i..i.“.,,

;for certain commissions in accordance with its existing policies.and procedures and for other claims
` for injuries

4. 'l_'he total amount to be paid by BrandsMart is ` = REDACTED

l, inclusive of attorneys feesand costs-.-_ BrahdsMart agrees to issue a check y 1 ' l n l

' ' iii ihaiaiiioimiio “ iz”oii behar¢raiia foiaie beii¢ii_iort')iiiiii~aiid/oii<auaiiaii, within

' ' fourteen days of the date this Agreement is approved _hy the Court. BrandsMart Will issue toy 1 v

Katz a Forrn 1099 for this amount, and may issue Ii`o"rrn 1099s to Du.nn and Kaut`man_ for the
entire amount 'Kat'z shall distribute payments to Dunn and/or Kaunnan in accordance with any
' arrangement that they have made The foregoing pay!nents shall he for all claims which Du'nn
ll and/or Kauiinan might have asserted for' injury o'r dainages, as well as attorney’_ s fees and costs
r- BrandsMart makes no representation or warranty as to the taxability of the payments made to

Dunn and/or Kaufrnan. Dunn and Kaunnan agree to be solely responsible for payment of all

income taxes, FICA, or other'types of taxes or assessments and Will defend, hideinnify and hold

l_BranclsMart harmless should any claim or assessment"be raised or asserted by any governmental " ' '

'or taxing agency for any payment that may be due or levied 011-this payment, including but not

7 7 lirn_‘ited to any and all taxes, interest, legal fees and/or penalties incurred in connection thereth " -:_

and Dunn and/or Kauiinan Will be solely liable for all such taxes, penalties, hiteres`t, paym'ents, . -

` __ assessments, tines, and/or legal fees.

`5. In exchange for the consideration set forth in this Agreement, Dunn and

Kaufman, jointly and severally and on behalfoi`themselves', their heirs, executor`s,

; radminist'rator's, attorneys, beneficiaries and assigns, release and discharge from liability, and v ' '

`- . ___-covenant not to sue BrandsMart and each of the other Defendants (BrandsMart U. S ..A, Inc

1093559.35.'9!11 ' .` _" v ' ' ` -_3-..

‘ - , --_`;isiaiiasMai-io.s.ia. orciiiyiaii couniy,LLC, Bi~iiiiasMaiiUsA ornaravi_ue_, LL'c, ana ' '

 

 

 

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- 'BrandsMart U.S.A.) and/or their present or former subsidiaries, and aftlliates; their respective
` predecessors and successors in interest or otherwise; their respective present and former
directors, oiiicers, partners, shareholders,. employees, owners, trustees, agents, insurers,

` ,_ attorneys, and representatives; and their respective heirs, administrators executors successors, -

nn ' _ l land assigns of any of the foregoing and any other p`erson, `Hn‘n, or corporation for Which any of ‘

`the--foregoing~;rnay-be legally responsible or Which may be legally responsible for any of them
- _(collectively the “Released Parties”), for any and all clairns, actions and causes of acticn,
n 7 together With any contracts, agreements and promises, in law or in equity, which Dunn and/or
'. Kaufrnan has or may have, including but not limited to, any and all possible claims and causes of ` _ n
action related to, connected with or arising out of Dunn’ s and/or Kaufman’ s employ`ment- with 7 l
l _ ` 'BrandsMart and/or termination of their einployment; any and all claims relating to any contrac`t, l l
agreement wage plan, bonus plan, or the violation of any policy of BrandsMart; any and all
claims of discrimination or retaliation on account of sex, race, color, age, disability, military, _or
. veteran status; national origin, marital status, sexual orientation or preference, political n n
' -` 'affiliation, religion, retaliation, sexual or other harassment; or on account of protected status or
1 participation in protected activity_; any and all claims or causes of action based upon any equal

' _ . employment opportunity laws, ordinances, regulations or orders, including, but not limited to,_

" "_ -' _.-Title VII of the Civil Rights Act of 1964, as amcnded, the Civil Rights Act of 1991, 42 U. S .C. § d

 

_1981, the Age Discrimination in Employment Act, as amended, the Americans with Disabilities . '

Aci, sxeciicive order 11246:11¢ Reiiabiiiiaiioii Aci sr 1973 sic Uiiifoiiiiea services

l " Ernployment and Re-ernployinent Act, the Ernployee Retirement lncome Se'curity Act, COBRA ". v ~ `

-'the Fa_rnily and Medical Leave_ Act, the Fair Labo'r Standards Act, The Equal Pay Act, or any

n V, applicable state, county or local and-discrimination or labor protective statutes or ordinances;- - -

icsasss.ssrsn'i v _ _ '~ - '_4_* `

 

 

__m---Case_l.;..-l.©.=cv=©$469-Tl'.CB. Docum.e n_t 3 8 ,\...Eil.e.d. 05/2.311.1.__. E>ag_e. 10,,'ot....18.__..:

.' any and all claims for wrongful termination or retaliation or violation of public policy, breach rif r_':

"' contract or agreement express or implied covenant of good faith and fair dealing, intentional or

negligent infliction of emotional distress, sexual harassment,_ assault, battery, or claims for hau_d,_ _ '

c ; _ -misrepresentation, defamation, libel, slander or invasion of ,privacy; any and all claims for"sal_ary,» 1
- . .`pay, remuneration or loss of future wages, compensatory darnages, punitive, liquidated or l
- l exemplary damages, costs, attorney’s fees, and pre- or post-judgment interest, loss of
consortium, mental anguish, pain and suffering; as Well as any other claims or causes of action ` `:` ' d
" ¢ t Du'nn and/or'Kaufman might have against the Released Pa'r`ties. l
7 l 6. A_ll information and documents disclosed,with regards to Gz'lberr Dar‘m, Jr_, er'al. y

v v' BMWM(M U'S'A" Inc" et al' Shall be kept wilfidefllial by Dunn and/or Kaufi'nan, and Dunn 1 --'

and Kaut`man agree to instruct their counsel that counsel shall keep confidential all information

l § and documents disclosed with regards to Gilbert Dw‘zn, Jr., er al. v. BrandsMcrt U..SZA., Inc., er n '
l al. U_nder no circumstances shall information and documents be disclosed to anyone during or.
trailer the termination of this litigation, exceptpursuant to legal process In the event that legal

' l process including but not limited to a subpoena, is served covering protected material obtained

y 3 ' - through its counsel of record, in order to allow BrandsMart to interpose an objection, seek a
" ' _ protective order, or seek other judicial relief prior to the return date.
7.' Upon execution of this Agreement Dunn, Kaufman, and their counsel of record § d -
shall return information and documents received from BrandsMart (includi'ng all copies) to v n

-_ " ":counsel for BrandsMart. In the alternative, documents may be destroyed rather than returncd.

_ _' during this matter, Dunn and/or Kaufman shall give prompt notice of that process to Brandsl\lart,- - _. 7 _ _r

n -' l 1 ij ::These documents must be returned or destroyed within thirty (30) days after final signatures :_-' - 151 '_ _`

-'109:55_9.35.'9»{11 ' _‘ ` - ' n ` _`5_ "

 

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s. noon ooo Kooaooo soon each Sb~ioa`y manion the ooosdoorioiaj'ortho rooms or _‘ `
_ this Settlernent Agreement and Releas'e and any amounts offered cr demanded by either party
_‘notwithstanding the fact that the Set't.lement Agreement will be filed With the Court for approval _
di Neither Dunn nor Kaufman shall disclose any information relaimg to the amount and fact of this - - _ ` z
" 'Settlernent Agreement and Release to any individual other than their counsel, spouse, or tax . l n 7 n 7 ‘ d
advisor for the purpose of seeking tax advice, and Dunn and/or Kaufman shall instruct each of _ l
_ them to maintain the confidential nature of the terms of this Setdement Agreement and any
- amounts paid thereunder D'unn and Kant`rna`n iin'jther agree t'_o instinct their counsel that counsel w 7 t `
7 " _ shall maintain the confidentiality of the terms of this Settleme`nt Agreement and Release and any iv - zl-
- amounts offered or demanded by either party. By executing this Agreement, Dunn and Kauhnan
warrant that they has not disclosed any terms of this Agreement to any person except as set forth
n ;1in this paragraph The parties agree that, ifDunn and/or Kauiinan is asked about the claims by
` ': Dunn and/or Kau';t`man against BrandsMart, Dunn and/or Kauii;nan may state “the matter has
. been resoiv ,” or similar words to that effect, and may state nothing further. This provision is . ` v
:of essence to this Agreement, and any other comment by Dunn and/or Kauiinan without the prior
written consent of BrandsMart, shall be considered a violaj_:ion of the coniidentiality provision._ " _1
' BrandsMart agrees to keep contidential, and will not disclose to any third party, the terms and l '-

n d -'conditions of this Settlement Agreement, including any amounts paid hereunder,' unless-required :-

n ' _=_‘_ by subpoena .

9. Any claims regarding breach of the confidentiality provisions of this Agreement»_ ' '

" y § soon bo subject to moodotory, binding arbitration as providod bolow.

10. When under an obligation of law, Du'nn and Kaufman are each dee to respond _ '; ‘_

n " :- truthfully to inquiries from a governmental agency, such as the Internal R`evenue Service or a " ‘- '

 

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CaSe,_]_:1@_.@\/_@34.@__9-_'_|'._(.;B..,,,,.D\Q@l,|me.nt_$$m-LEH@_(;{.05/2-3/17.1..__.E?..aQe..lZm.O.f.__lS _..7...7.7

court of competent jurisdiction regarding the terms of this settlement but in such response he 7 z l 4

will advise that the terms of the settlement were agreed to be coniidential and will request
mamtenance of confidentiath by the government agency or'court. Thi's provision includes

xi testimony m a deposition or other legal proceedings, but only ifi)unn and/or Kaui:`man has been ' '

-' v . _- properly subpoenaed

ll. Dunn and Kaufinan each agree that he will not apply for and is not~eligible for
' employment or re'- employment with BrandsMart and Dunn and Kaufman waive any claimto- ‘
_ _- reinstatement or resemployment with BrandsMart, any of the Defendants-, or any other entity `

_ `using`the"‘Brandsi\/lart U.S.A.” trade name. In the event Dunn and/or Kaufman breaches this

 

' .‘agree'rnent and is inadvertently hired by any such entity, Dunn and Kaufman each stipulates that 7` 7 '. -`

_ - he may be lawfully discharged based upon this Agreement ln such event, Dunn and/or

=-. ..__Kaufinan will be estopped from collecting any damages and BrandsI\/.[art may introduce this

7stipulationi 111 its defense` 111 any proceeding

12. Dunn and Kaufman acknowledge that BrandsMart are represented by counsel of z -'

` - 7 their choosing who has actively participated 111 the negotiations concerning this Agreement

.' "D_unn and Kauiinan each-acknowledges that he has requested and received from BrandsMart any __ "
` ".inforrnation that he needs in order to make a knowing and*voiuntary release of all claims. Dunn t .

l ' and Kaufman each further acknowledges and agrees that he is represented by an attorney, that lu`s

attorney has reviewed this Agreement with him and explained the terms and consequences ofthis '- . .7

ll " '_ Agreement to him, and has advised him regarding whether or not he should sign it. Dunn and

" Kaufman each further acknowledges that he has had a reasonable period of time of at least 21 days _' ` ' ‘: `

1 __to' review and consider the consequences ofthis Agreement and to obtain all of the advice he

 

l -_" ' - jr_ requires regarding the purpose and effect of the release ofclaims under the Age Dlscnrnmaiion 111 '. '7 7"' _7 ' n l

10915593519;11, ` ' .' -' ' ` ` _7.-.

 

- -~---»»1-'-CaSe-»l-:-l©=€rv-=OSA69=-7|1(;|3~.1.,DOCLimen.t..BS ..Fi-|e.d..OB/ZB[J.J__.....\E.B.Q&,13_...(11°_.18...\.....\...\_._._ .. ..

- prepayment Aa as required by the older workers assent notation Acg and minn and Kaua'aan - ` '
7 -.`e_ach acknowledges and agrees that he has voluntarily, clearly and unmistakably elected to sign this 7
7 _ Agreement prior to the expiration ofthe 21 day period Dunn and Kaufman further represent and
warrant that neither has relied on any representations by any employee or representative of.
' 7 BrandsMart 111 deciding whether or not to sign this Agreement._ Dunn and Kaufi:nan each

1 represents and warrants that, knowing and widerstanding each of the statements in this

" '- `-Agreement, Dunn and Kaufman each-acts knowingly and voluntarily and has entered into this

Agreement of his own nee will with full understanding 'of its terms-, and accepts the benefits

t -' described herein' in exchange for the terms of this Agreement that inure to the benefit of the

'- \'Reloased Parties, without duress, coercion, fraud or undue influence

` 13. Subj ect to the provisions below, in exchange for the promises, agreements and

' .sapuiaaoas above, smast agrees 10 release and discharge from liability nunn and Kauaaaa

from any and all claims or causes of action BrandsMart has or may have arising out of the FLSA77

_ 7 Lawsuit. Each party shall bear its own costs and attorneys fees' 111 the FLSA Lawsuit.

_BrandsMart agrees to waive all claims it has or may have for attorneys fees and sanctions arising

' cut of the filing and continued prosecution of the FLSA Lawsuit. This release is conditioned on 7

1 are entry or the order dismissing the FLSA Lawsuii, the companies or nunn and seaman with 1 - ` ` '

7 all other obligations of this Agreement, and on the enforceability of this Agreement Tho

~ . - y forgoing provision will be null and void, and BrandsMart will be able to pursue such claims

 

`- s ~ against the person who allegedly breached this Agreement Without regard to any statute of 7 n l

_' t l limitations if: (1) a Court or arbitrator determines that such person has violated any of the

‘ ` -7p'r_ovisio7ns7 of the Agreement; (27) as to l)unn and/or Kauiinan, if Dunn and/or Kaun'nan files any 7 7 `-

l n ` claim against BrandsMart on any ground based upon actions occurring prior to the date of this 7. '. ' -' 7 '

l 093559.351"9.'11 n ." 7 .- . ' "' "

 

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f Agreement except as expressly excluded above; or (3) in any action o`r proceeding Dunn and!or
_Kaufman seeks to' challenge the enforceabth of any provision of this Agreement

` 14. Any claims regarding breach of this Agreement shall he subject to mandatory,

.' n _ binding arbitration Such arbitration shall follovv therules and procedures of the American
Arbitration Association (“AAA”) (unless the parties agree to other procedures) and shall apply ll 7

"‘the` laws of the State of Georgia. All arbitration proceedings will be confidential and maintained n

_ under seal. The arbitrator shall award the prevailing party its costs and attorneys fees.

15. An award of any damages for breach of this Agreement vv_ill not affect the validity _ _ ` 1

l ' _ - ,cf the covenant not to sue and the releases in this Agreement

16. The provisions of this Agreement are severable. If any provision of this

_ Agreement other than paragraph 5 is adjudged by any court or arbitrator to be void or

-_ 'ii_nenforceable, in Whole or in part, such adjudication shall not affect the validity of the covenant

7 riot to sue and releases in this Agreement If any provision of paragraph 5 is adjudged by any '
court or arbitrator to be unenforceable, in Whole or in part,-or if Dunn and!or Kaut`man
. subsequently makes any claim against the Released_ Parties arising out ofhis employment prior '
' to the date he signed this Agreement and challenges the validity of the release, such adjudication _
-` '- ny -an'd/or claim shall void ail duties and obligations of Br'andsMar_t herein, and, if such action` is due

l to Dunn and/or Kaufman making a claim or requesting court action to void the agreement, Dunn _ v

, ; rand/or Kau&nan Shau promptly refund all payments made hereund¢r. Provided, however, that

' _r t nothing in this Agreement is intended to, or shall be interpreted to, discourage or interfere with ` ` " l

" _ the rights of Dunn and/or Kauiinan under the Older Workers B`eneiit Pr'otection Act to test the -'

7 ' " : _hiiowing and volcntary nature of the waiver of claims under the Age Discrimina'tion in .‘ _ ‘ .r 1 ll

is : Ernplo`yinent Act, or to, prevent the exercise of snch rightsv -In_ the_eve_nt that the Wai'ver of Age 7 il '. ~" - 1

" -.-"_`1093559.35;9:11 ‘ ~~_ . _.9___ ,'

 

 

 

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`Discrimination in Einployn'ient Act claims is declared invalid nor void‘, the foregoing refund . t l n
provision shall not apply, and Dunn and/or Kaufinan shall only he required to refund the
payments hereunder to the extent permitted by law.
_17. Dlinn and Kaul.tnan each agrees to indemnify and hold harmless the Released
7 'Partie`s of and from any and all attorney liens. Dunn and Kauiinan each hereby represents and n 7
" l` vvar'r'ants that he is not aware of any outstandingliens against_hi'r_n,' including without limitation, n
l " Wage liens, workers’ compensation liens, and medical liens. Dunn and Kaufi:nan each further l
: represents and ivarrants that he is not aware of any subrogation rights, or other claims or causes -_ n
l of action that arise out of or in connection with Dunn andfo'r Kaufman"s employment by l
ny `_ _- BrandsMart, the FLSA Lawsuit, or any other matter relating to BrandsMai"t.
v 1 ` 18. This Agreement constitutes the entire agreement between the parties and

supersedes any prior agreements, arrangements or understandings, entered into between Dunn

-' " l . -, and/or Kaufinan and BrandsMart concerning the FLSA Lawsuit. 'l`his Agreement may be

 

d ' ~' y modified or amended only by Written consent of both parties It is understood that BrandsMart-,
f 4 Dunn, and Kauii'nan are entitled to use this Agreement in any form, offensive or defensive, in .
"_ any proceeding

19.- Tlie parties agree that this Agreement shall be construed and enforced under, and

-.in accordance with, the laws of the State of Georgia. Th'e language used' in this Agreement shall ; n

` he deemed to be the language chosen by the parties hereto to express their mutual intent,land no :` \ "

x " rules of strict construction shall be applied against any party.

20. B`randsMart’ s duly authorized representative for signature acknowledges that she has _' -"`

y l-carefully read and fully understands all ofthe terms of this Agreement, including the releases , x . .

l `? `.'r contained herein, and that BrandsMart enters into this Agreement voluntarily . _ . -

.3 51'9!11 -' l `
lest _- . _-10-

 

 

 

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` 21 This Agreement to waive and release claims tinder the Age Dis'crii'iiination' in

'. Eniployment Act‘ 1a irrevocable alter a period ot seven (7) days iran the execution of this

' ', ,` -.A,greemen_t byDimnaniiKaufman. 'Ihe amenientto waive andrelea_se claims under the Age _ `_ '

Disctimiiiation ianploymen't Act only shall not lie enforceable or ei_i`eciive prior to the end ot this _ ' ': ' "

a swan day prod notion ana/manassas swain revoke ina waiver message stearns under ` " ` '

" .'the Age Discriruination' 1n Employmeni Act, this entireAgreement is voidable at the election of - '. '

l _ BrandsMart.

 

 

 

 

._'._'»'Exaauiedin oesrgia,nisio saynr;\i%~z ,2011" `
By: ZQMQ§;Z,DM?~_-»|Q)-
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BRANDSMART USA OF GEO_RGIA, _L_LC.

  

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

GILBERT DUNN, JR., ET AL.,

VS.

Plaintitfs, : CIVIL ACTION
FILE NO. l:lO-cv-3469-TCB

BRANDSMART U.S.A., INC., ET AL.,

Defendants.

'ORDER OF DISMISSAL

Upon the parti'es’ Joint Motion for Approval of Settlement Agreement and Stipulation of

Disrnissal, it is hereby ADJUDGED and ORDERED

].

The settlement is deemed fair and reasonable to all parties, and is hereby
approved by the Court.

P]aintiff’s claims are hereby dismissed With prejudice

The parties are to bear their own costs.

The Court hereby retains jurisdiction over this action and the settlement thereof
The Clerk is hereby directed to close this case.

DONE AND ORDERED in Atlanta, Georgia, this _ day of , 2011

 

The Hon. Timothy C. Batten, Sr.
UNITED STATES DISTRICT JUDGE

cc: All counsel of record

 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing Joint Motion For Approval
Of Settiement Agreement And Stipuiation Of Dismissal. Was served via the Court’s ECF system
on this 23rd day of May, 2011, on:

Stephen M. Katz, Esq.
stephen@smk~law.com

THE KATZ LAW GROUP, LLC
4799 Olde ToWne Parkway
Marietta, GA 30068

Telephone: (770) 988-8181
Facsimilc: (770) 988-8182
Counsel for Plaintiff

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